      Case 3:17-cv-00939-WHA Document 948 Filed 07/18/17 Page 1 of 3



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14   and OTTOMOTTO LLC

15                               UNITED STATES DISTRICT COURT
16                            NORTHERN DISTRICT OF CALIFORNIA
17                                     SAN FRANCISCO DIVISION
18   WAYMO LLC,                                          Case No.      3:17-cv-00939-WHA
19                        Plaintiff,                     DECLARATION OF MICHELLE
                                                         YANG IN SUPPORT OF
20          v.                                           PLAINTIFF’S ADMINISTRATIVE
                                                         MOTION TO FILE UNDER SEAL
21   UBER TECHNOLOGIES, INC.,                            PORTIONS OF ITS RESPONSE TO
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                   DEFENDANTS’ BRIEFS
22                                                       REGARDING LEVANDOWSKI’S
                          Defendants.                    ADVERSE INFERENCES (DKT. 896)
23
                                                         Trial Date: October 10, 2017
24

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     YANG DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     Case No. 3:17-cv-00939-WHA
     sf-3806262
      Case 3:17-cv-00939-WHA Document 948 Filed 07/18/17 Page 2 of 3



 1          I, Michelle Yang, declare as follows:

 2          1.      I am an attorney at the law firm of Morrison & Foerster LLP. I make this

 3   declaration based upon matters within my own personal knowledge and if called as a witness, I

 4   could and would competently testify to the matters set forth herein. I make this declaration in

 5   support of Plaintiff’s Administrative Motion to File Under Seal Portions of Its Response to

 6   Defendants’ Briefs Regarding Levandowski’s Adverse Inferences (Dkt. 896).

 7          2.      I have reviewed the following documents and confirmed that only the portions

 8   identified below merit sealing:

 9
          Document                                             Portions to Be Filed Under Seal
10
          Waymo’s Response to Defendants’ Briefs                Marked portions (in red boxes)
11        Regarding Levandowski’s Adverse
          Inferences (“Response”)
12

13          3.      The marked portions (in red boxes) on page 3 of the Response contain highly

14   confidential information regarding business agreement terms, including information about the

15   structure of a business agreement, including potential monetary terms. This highly confidential

16   information is not publicly known, and its confidentiality is strictly maintained. If this

17   information were to be released to the public, Defendants’ competitors and counterparties would

18   have insight to how Defendants structure their business agreements, including what potential

19   monetary terms have been offered, which would allow them to tailor their own business

20   negotiation strategy. I understand Defendants’ competitive standing could significantly be

21   harmed.

22          4.      Defendants’ request to seal is narrowly tailored to those portions of Plaintiff’s

23   Response that merit sealing.

24          I declare under penalty of perjury under the laws of the United States that the foregoing is

25   true and correct. Executed this 18th day of July, 2017, at San Francisco, California.

26
                                                                    /s/ Michelle Yang
27                                                                      Michelle Yang
28

     YANG DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     Case No. 3:17-cv-00939-WHA
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     sf-3806262
      Case 3:17-cv-00939-WHA Document 948 Filed 07/18/17 Page 3 of 3



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 2
                                 ATTESTATION OF E-FILED SIGNATURE
 3
            I, Arturo J. González, am the ECF User whose ID and password are being used to file this
 4
     Declaration. In compliance with General Order 45, X.B., I hereby attest that Michelle Yang has
 5
     concurred in this filing.
 6
     Dated: July 18, 2017                                    /s/ Arturo J. González
 7                                                               Arturo J. González
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     YANG DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     Case No. 3:17-cv-00939-WHA
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     sf-3806262
